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                 IN THE UNITED STATES DISTRICT COURT FOR
               THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                  *
UNITED STATES OF AMERICA
                                  *
           v.                           CRIMINAL NO.: WDQ-08-0086
                                  *
STEVE WILLOCK, et al.
                                  *

*    *     *      *     *     *   *     *     *      *        *       *     *

                                  ORDER

     For the reasons discussed in the accompanying Memorandum

Opinion, it is, this 23rd day of March 2010, ORDERED that:

1.   Fleming’s motion to adopt co-defendant motions (Paper No.
     642) BE, and HEREBY IS, GRANTED;

2.   Fleming’s motions:

           a.      To sever (Paper Nos. 595, 829);

           b.      For a bill of particulars (Paper No. 593);

           c.      To dismiss Count One of the Indictment (Paper No.
                   568);

           d.      To strike Overt Act 3 (Paper No. 572);

           e.      To exclude pretrial identifications (Paper No.
                   567);

           f.      To suppress tangible evidence and dismiss Overt
                   Act 24 (Paper No. 574);

           g.      For disclosure of all confidential informants
                   (Paper No. 594);

     BE, and HEREBY ARE, DENIED;

3.   Fleming’s adopted motions:

           a.      To suppress firearms identification evidence
                    (Paper No. 571, 657, 685);
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           b.     For disclosure under Fed. R. Crim. P. 12 (Paper
                  No. 685);

           c.     For disclosure under FRE 404(b) (Paper No. 685);

           d.     For disclosure under FRE 801(d)(2)(E) (Paper No.
                  685);

     BE, and HEREBY ARE, GRANTED IN PART and DENIED IN PART;

4.   Mouzone’s motions:

           a.    To suppress firearms testimony (Paper Nos. 565,
                 566, 639); and

           b.    To voir dire “gang expert” (Paper No. 793)

     BE, and HEREBY ARE, GRANTED IN PART and DENIED IN PART;

5.   Mouzone’s motions:

           a.    For disclosure under Rule 16 (Paper No. 630, 640);
                 and

           b.    To exclude alias (Paper No. 763)

     BE, and HEREBY ARE, DENIED;

6.   Mouzone’s adopted motions to:

           a.    To sever (Paper Nos. 600, 835);

           b.    For disclosure of confidential informants (Paper
                 No. 600, 691);

           c.    To dismiss Count One of the Indictment (Paper No.
                 691);

           d.    To strike Overt Act     3 of the Indictment (Paper
                 Nos. 576, 691);

           e.    To exclude pretrial identification (Hr’g Tr. 70,
                 Nov. 5, 2009);

           f.    For disclosure of government agent interview notes
                 (Paper No. 691);

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           g.    For disclosure under Fed. R. Evid. 404(b);

           h.    To strike alias (Paper No. 691);and

           i.    For disclosure under Fed. R. Evid. 801(d)(2)(E)
                 (Paper No. 691)

     BE, and HEREBY ARE, GRANTED IN PART and DENIED IN PART;

7.   Judge Grimm’s Report (Paper No. 721) BE, and HEREBY IS,
     ADOPTED AS AN ORDER OF THE COURT:

           a.    Sgt. Ensor shall not opine that it is a

                 “practical impossibility” for a firearm to have

                 fired the cartridges other than the common

                 “unknown firearm” to which Sgt. Ensor attributes

                 the cartridges;

           b.    Sgt. Ensor shall state his opinions and

                 conclusions without any characterization as to the

                 degree of certainty with which he holds them;

           c.    Additional funds shall be approved under the

                 Criminal Justice Act to pay for the time of a

                 rebuttal expert, if Mouzone so requests; and

8.   The Clerk of the Court shall send copies of this Memorandum

     Opinion and Order to counsel for the parties.



                                         ___________/s/ ___________________
                                         William D. Quarles, Jr.
                                         United States District Judge




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